Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 1 of 17 Pageid#:
                                  20469



                       UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF VIRGINIA
                            Charlottesville Division


    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUÑIZ, MARCUS
    MARTIN, NATALIE ROMERO, CHELSEA
    ALVARADO, JOHN DOE, and THOMAS
    BAKER,                                      Civil Action No. 3:17-cv-00072-NKM

                             Plaintiffs,            JURY TRIAL DEMANDED
          v.
    JASON KESSLER, et al.,
                             Defendants.



                    PLAINTIFFS’ PROPOSED VERDICT FORM
Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 2 of 17 Pageid#:
                                  20470
                                                                        2


                                 FIRST CLAIM: 42 U.S.C. § 1985(3)

        1. As instructed, you must take as true that Defendants Elliott Kline and Robert
           “Azzmador” Ray entered a conspiracy to engage in racially motivated violence,
           and that racially motivated violence occurred as a result of that conspiracy. For
           Defendants other than Elliott Kline and Robert “Azzmador” Ray, please indicate
           (by marking each appropriate line with a check mark) which of the following you
           find, 1 by a preponderance of the evidence, also entered into an agreement with
                 0F




           one or more co-conspirators to engage in racially motivated violence.

            _____ ALL DEFENDANTS (If you check here, proceed to Question 2.)

        If not all Defendants, specify which ones:

            _____ Jason Kessler                              _____ Michael Hill
            _____ Richard Spencer                            _____ Michael Tubbs
            _____ Christopher Cantwell                       _____ League of the South
            _____ James Alex Fields, Jr                      _____ Vanguard America
            _____ Jeff Schoep                                _____ Nationalist Socialist Movement
            _____ Nathan Damigo                              _____ Identity Evropa
            _____ Mathew Heimbach                            _____ Traditionalist Worker Party
            _____ Mathew Parrott


        2. For the conspiracy to commit racially motivated violence referenced in Question
           1, did Plaintiffs prove by a preponderance of the evidence that they sustained
           injuries as a result of that conspiracy?

            _____ YES _____ NO



    Please proceed to Question 3.




    1
      Plaintiffs’ proposed verdict sheet omits those Defendants against whom an entry of default has been
    entered by the clerk, or against whom the Honorable Judge Hoppe has recommended an entry of default
    (the “Defaulted Defendants”). ECF No. 268 (Andre Anglin, Moonbase Holdings, LLC); ECF No. 269
    (East Coast Knights of the Ku Klux Klan); ECF No. 270 (Fraternal Order of the Alt-Knights); ECF No. 271
    (Augustus Sol Invictus); ECF No. 280 (Loyal White Knights of The Ku Klux Klan); and ECF No. 967
    (Nationalist Front). Plaintiffs intend to move the Court for an entry of default judgment against the
    Defaulted Defendants under Federal Rule of Civil Procedure 55(b). If the Court determines that the jury
    should assess the amount of any damages against the Defaulted Defendants, Fed. R. Civ. P. 55(b)(2),
    Plaintiffs will submit an amended proposed verdict sheet at the Court’s request.
Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 3 of 17 Pageid#:
                                  20471
                                                                        3


       3. For each Plaintiff who you found for on Claim 1, please state the total
          compensatory damages that will fully and fairly compensate that Plaintiff for the
          injuries sustained as a result of the conspiracy.

            Natalie Romero:         $____________________
            April Muñiz:            $____________________
            Thomas Baker:           $____________________
            Elizabeth Sines:        $____________________
            Marissa Blair:          $____________________
            Marcus Martin:          $____________________
            Chelsea Alvarado:       $____________________
            Seth Wispelwey:         $____________________
            Devin Willis:           $____________________

       4. If you found for Plaintiffs as to Claim 1, do you find that punitive damages should
          be awarded against at least one Defendant?

            _____ YES _____ NO

       5.
                               ---
             If you answered, “YES,” to Question 4, on the following lines, please state the
            total punitive damages, if any, you are assessing against any such Defendant:

            Jason Kessler:                       $____________________
            Richard Spencer:                     $____________________
            Christopher Cantwell:                $____________________
            James Alex Fields, Jr:               $____________________
            Robert “Azzmador” Ray:               $____________________
            Nathan Damigo:                       $____________________
            Elliott Kline:                       $____________________
            Mathew Heimbach:                     $____________________
            Matthew Parrott:                     $____________________
            Michael Hill:                        $____________________
            Michael Tubbs:                       $____________________
            Jeff Schoep:                         $____________________
            Vanguard America:                    $____________________
            League of the South:                 $____________________
            Identity Evropa:                     $____________________
            Traditionalist Worker Party:         $____________________
            Nationalist Socialist Movement:      $____________________




    Please proceed to Question 6 on the next page.
Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 4 of 17 Pageid#:
                                  20472
                                                                        4


                            SECOND CLAIM: 42 U.S.C. § 1986

       6. Did Plaintiffs prove by a preponderance of the evidence their claim that one or
          more Defendants had knowledge of the conspiracy found in Claim 1 and failed to
          prevent that conspiracy from taking place in violation of 42 U.S.C. § 1986?

          _____ YES _____ NO

    If you answered “NO,” to Question 6, please skip to Question 11. If you answered,
    “YES,” proceed to Questions 7-8.

       7. If you answered “YES,” to Question 6, please indicate (by marking each
          appropriate line with a check mark), any and all Defendants against whom you
          find that Plaintiffs proved their 42 U.S.C. § 1986 claim:

          _____ ALL DEFENDANTS (If you check here, proceed to Question 8.)

       If not all Defendants, specify which ones:

          _____ Jason Kessler                       _____ Michael Hill
          _____ Richard Spencer                     _____ Michael Tubbs
          _____ Christopher Cantwell                _____ Jeff Schoep
          _____ James Alex Fields, Jr               _____ Vanguard America
          _____ Robert “Azzmador” Ray               _____ League of the South
          _____ Nathan Damigo                       _____ Identity Evropa
          _____ Elliott Kline                       _____ Traditionalist Worker Party
          _____ Mathew Heimbach                     _____ Nationalist Socialist Movement
          _____ Mathew Parrott

       8. For each Plaintiff who you found for as to Claim 2, please state the total
          compensatory damages that will fully and fairly compensate that Plaintiff for the
          injuries sustained as a result of the Defendants’ failure to prevent the Section
          1985(3) conspiracy.

          Natalie Romero:          $____________________
          April Muñiz:             $____________________
          Thomas Baker:            $____________________
          Elizabeth Sines:         $____________________
          Marissa Blair:           $____________________
          Marcus Martin:           $____________________
          Chelsea Alvarado:        $____________________
          Seth Wispelwey:          $____________________
          Devin Willis:            $____________________
Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 5 of 17 Pageid#:
                                  20473
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       9. If you found for Plaintiffs on Claim 2, do you find that punitive damages should
          be awarded against at least one Defendant?

           _____ YES _____ NO

                              --- to Question 9, on the following lines, please state the
       10. If you answered, “YES,”
           total punitive damages, if any, you are assessing against any such Defendant:

          Jason Kessler:                       $____________________
          Richard Spencer:                     $____________________
          Christopher Cantwell:                $____________________
          James Alex Fields, Jr:               $____________________
          Robert “Azzmador” Ray:               $____________________
          Nathan Damigo:                       $____________________
          Elliott Kline:                       $____________________
          Mathew Heimbach:                     $____________________
          Matthew Parrott:                     $____________________
          Michael Hill:                        $____________________
          Michael Tubbs:                       $____________________
          Jeff Schoep:                         $____________________
          Vanguard America:                    $____________________
          League of the South:                 $____________________
          Identity Evropa:                     $____________________
          Traditionalist Worker Party:         $____________________
          Nationalist Socialist Movement:      $____________________

    Please proceed to Question 11.
Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 6 of 17 Pageid#:
                                  20474
                                                                        6


                          THIRD CLAIM: CIVIL CONSPIRACY

       11. Did Plaintiffs prove by a preponderance of the evidence each element of their
           Virginia state law civil conspiracy claim?

            _____ YES _____ NO

    If you answered “NO,” to Question 11, please skip to Question 16.

       12. If you answered “YES,” to Question 11, please indicate (by marking each
           appropriate line with a check mark) which of the following Defendants you find,
           by a preponderance of the evidence, were members of that conspiracy.

           _____ ALL DEFENDANTS (If you check here, proceed to next question.)

       If not all Defendants, specify which ones:

          _____ Jason Kessler                        _____ Michael Hill
          _____ Richard Spencer                      _____ Michael Tubbs
          _____ Christopher Cantwell                 _____ Jeff Schoep
          _____ James Alex Fields, Jr                _____ Vanguard America
          _____ Robert “Azzmador” Ray                _____ League of the South
          _____ Nathan Damigo                        _____ Identity Evropa
          _____ Elliott Kline                        _____ Traditionalist Worker Party
          _____ Mathew Heimbach                      _____ Nationalist Socialist Movement
          _____ Mathew Parrott


       13. For each Plaintiff who you found for as to Claim 3, please state the total
           compensatory damages that will fully and fairly compensate that Plaintiff for the
           injuries sustained as a result of the civil conspiracy.

          Natalie Romero:          $____________________
          April Muñiz:             $____________________
          Thomas Baker:            $____________________
          Elizabeth Sines:         $____________________
          Marissa Blair:           $____________________
          Marcus Martin:           $____________________
          Chelsea Alvarado:        $____________________
          Seth Wispelwey:          $____________________
          Devin Willis:            $____________________
Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 7 of 17 Pageid#:
                                  20475
                                                                        7


       14. If you found for at least one Plaintiff as to Claim 3, do you find that punitive
           damages should be assessed against at least one Defendant?

          _____ YES _____ NO

                              --- to Question 14, on the following lines, please state the
       15. If you answered, “YES,”
           total punitive damages you are assessing against any such Defendant:

          Jason Kessler:                         $____________________
          Richard Spencer:                       $____________________
          Christopher Cantwell:                  $____________________
          James Alex Fields, Jr:                 $____________________
          Robert “Azzmador” Ray:                 $____________________
          Nathan Damigo:                         $____________________
          Elliott Kline:                         $____________________
          Mathew Heimbach:                       $____________________
          Matthew Parrott:                       $____________________
          Michael Hill:                          $____________________
          Michael Tubbs:                         $____________________
          Jeff Schoep:                           $____________________
          Vanguard America:                      $____________________
          League of the South:                   $____________________
          Identity Evropa:                       $____________________
          Traditionalist Worker Party:           $____________________
          Nationalist Socialist Movement:        $____________________


    Please proceed to Question 16.
Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 8 of 17 Pageid#:
                                  20476
                                                                        8


                     FOURTH CLAIM: VIRGINIA CODE § 8.01-42.1

       16. Plaintiffs Natalie Romero, April Muñiz, Elizabeth Sines, Marissa Blair, Marcus
           Martin, Chelsea Alvarado, Devin Willis, and Seth Wispelwey bring a claim under
           Virginia Code § 8.01-42, against Defendants Jason Kessler, Richard Spencer,
           Elliot Kline, James Alex Fields, Jr., Robert “Azzmador” Ray, and Christopher
           Cantwell. Did Plaintiffs prove by a preponderance of the evidence each element
           of their claim that one or more of those Defendants subjected them to racial,
           religious or ethnic harassment, violence or vandalism in violation of Virginia
           Code § 8.01-42.1?

          _____ YES _____ NO

    If you answered “NO,” to Question 16, please skip to Question 20. If you answered,
    “YES,” proceed to Questions 17-19.

       17. If you answered “YES,” to Question 16, please indicate ((by making each
           appropriate line with a check mark) any and all Defendants against whom you
           find that Plaintiffs proved their Virginia Code § 8.01-42.1 claim.

          _____ ALL DEFENDANTS (If you check here, proceed to next question.)

       If not all Defendants, specify which ones:

       _____ Jason Kessler
       _____ Richard Spencer
       _____ Elliot Kline
       _____ James Alex Fields, Jr
       _____ Robert “Azzmador” Ray
       _____ Christopher Cantwell


       18. For each Plaintiff who you found for as to Claim 4, please state the total
           compensatory damages that will fully and fairly compensate that Plaintiff for the
           resulting injuries.

          Natalie Romero:          $____________________
          April Muñiz:             $____________________
          Seth Wispelwey:          $____________________
          Elizabeth Sines:         $____________________
          Marissa Blair:           $____________________
          Marcus Martin:           $____________________
          Chelsea Alvarado:        $____________________
          Devin Willis:            $____________________
Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 9 of 17 Pageid#:
                                  20477
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       19. For each Defendants against whom you found that Plaintiffs proved their Virginia
           Code § 8.01-42.1 claim, you must decide whether to assess punitive damages.
           Please indicate on the lines below which Defendants, if any, you assess punitive
           damages against and state the amount.

       YES/NO                                  Punitive Damages

       _____ Jason Kessler                     $____________________
       _____ Richard Spencer                   $____________________
       _____ Elliot Kline                      $____________________
       _____ James Alex Fields, Jr             $____________________
       _____ Robert “Azzmador” Ray             $____________________
       _____ Christopher Cantwell              $____________________
Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 10 of 17 Pageid#:
                                  20478
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                         FIFTH CLAIM: ASSAULT OR BATTERY

       20. Plaintiffs Natalie Romero, April Muñiz, Thomas Baker, Elizabeth Sines, Marissa
           Blair, Marcus Martin, and Chelsea Alvarado, bring a claim for assault or battery
           against Defendant James Alex Fields Jr. Did Plaintiffs prove by a preponderance
           of the evidence each element of their claim for assault or battery?

          _____ YES _____ NO

       21. For any Plaintiff who you found for as to Claim 5, please state the total
           compensatory damages that will fully and fairly compensate that Plaintiff for the
           resulting injuries.

          Natalie Romero:           $____________________
          April Muñiz:              $____________________
          Thomas Baker:             $____________________
          Elizabeth Sines:          $____________________
          Marissa Blair:            $____________________
          Marcus Martin:            $____________________
          Chelsea Alvarado:         $____________________

       22. If you found for at least one Plaintiff as to Claim 5, do you find that punitive
           damages should be awarded?

          _____ YES _____ NO

       23. If you answered, “YES,” to Question 22, on the following lines, please state the
           total punitive damages you are assessing against Defendant James Alex Fields for
           these claims:

          $____________________
Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 11 of 17 Pageid#:
                                  20479
                                                                       11


       SIXTH CLAIM: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

        24. Plaintiffs Natalie Romero, April Muñiz, Thomas Baker, Elizabeth Sines, Marissa
            Blair, Marcus Martin, and Chelsea Alvarado, bring a claim for intentional
            infliction of emotional distress against Defendant James Alex Fields Jr. Did
            Plaintiffs prove by clear and convincing evidence each element of their claim for
            intentional infliction of emotional distress?

           _____ YES _____ NO

     If you answered “NO,” to Question 24, please proceed to Question 28.

        25. For each Plaintiff who you found for as to Claim 6, please state the total
            compensatory damages that will fully and fairly compensate that Plaintiff for the
            resulting injuries.

           Natalie Romero:           $____________________
           April Muñiz:              $____________________
           Thomas Baker:             $____________________
           Elizabeth Sines:          $____________________
           Marissa Blair:            $____________________
           Marcus Martin:            $____________________
           Chelsea Alvarado:         $____________________

        26. If you found for at least one Plaintiff as to Claim 6, do you find that punitive
            damages should be awarded?

            _____ YES _____ NO

        27. If you answered, “YES,” to Question 26, on the following lines, please state the
            total punitive damages you are assessing against Defendant James Alex Fields for
            these claims:

           $____________________
Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 12 of 17 Pageid#:
                                  20480
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                        SEVENTH CLAIM: NEGLIGENCE PER SE

        28. Plaintiffs Natalie Romero, April Muñiz, Thomas Baker, Elizabeth Sines, Marissa
            Blair, Marcus Martin, and Chelsea Alvarado, bring a claim of negligence per se
            against Defendant James Alex Fields Jr. Did Plaintiffs prove by a preponderance
            of the evidence each element of their negligence per se claim?

           _____ YES _____ NO

     If you answered “NO,” to Question 28, please proceed to the end.


        29. For each Plaintiff who you found for as to Claim 7, please state the total
            compensatory damages that will fully and fairly compensate that Plaintiff for the
            resulting injuries.

           Natalie Romero:          $____________________
           April Muñiz:             $____________________
           Thomas Baker:            $____________________
           Elizabeth Sines:         $____________________
           Marissa Blair:           $____________________
           Marcus Martin:           $____________________
           Chelsea Alvarado:        $____________________




                                      END – STOP HERE
Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 13 of 17 Pageid#:
                                  20481
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     Date: October 12, 2021




                                            Respectfully submitted,



                                             Roberta A. Kaplan (pro hac vice)
                                             Michael L. Bloch (pro hac vice)
                                             Yotam Barkai (pro hac vice)
                                             Emily C. Cole (pro hac vice)
                                             Alexandra K. Conlon (pro hac vice)
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Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 14 of 17 Pageid#:
                                  20482
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Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 15 of 17 Pageid#:
                                  20483
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                                                                 Counsel for Plaintiffs
Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 16 of 17 Pageid#:
                                  20484
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                                CERTIFICATE OF SERVICE
           I hereby certify that on October 12, 2021, I served the following via electronic mail:

     Elmer Woodard                                 David L. Campbell
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                                            Worker Party and Matthew Heimbach

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     Traditionalist Worker Party and Matthew
     Heimbach
Case 3:17-cv-00072-NKM-JCH Document 1219 Filed 10/12/21 Page 17 of 17 Pageid#:
                                  20485
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             I hereby certify that on October 12, 2021, I also served the following via mail and
     electronic mail:

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      richardbspencer@gmail.com                    Christopher Cantwell 00991-509
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                                                   and

                                                   Christopher Cantwell 00991-509
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                                                   Marion, IL 62959

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                                                   _________________________

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